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                                       IN THE UNITED STATES BANKRUPTCY COURT
                                            FOR THE DISTRICT OF MARYLAND
                                                  BALTIMORE DIVISION
                 In re:
                 MEGAN E. ALLEN,                                                 CHAPTER 7
                                   DEBTOR.                                       CASE NO. 19-15508
                 SPECIALIZED LOAN SERVICING LLC, AS
                 SERVICING AGENT FOR CITIGROUP
                 MORTGAGE LOAN TRUST INC., MORTGAGE
                 PASS-THROUGH CERTIFICATES, SERIES 2007-
                 10, U.S. BANK NATIONAL ASSOCIATION, AS
                 TRUSTEE,
                             MOVANT,
                 vs.
                 MEGAN E. ALLEN
                 and ZVI GUTTMAN, TRUSTEE,
                                   RESPONDENTS.
                           MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                 (REAL PROPERTY LOCATED AT 7798 NE 8TH COURT, BOCA RATON, FL 33487)
                          Specialized Loan Servicing LLC, as servicing agent for Citigroup Mortgage Loan Trust
                 Inc., Mortgage Pass-Through Certificates, Series 2007-10, U.S. Bank National Association, as
                 Trustee (“Movant”) hereby moves this Court, pursuant to 11 U.S.C. §362, for relief from the
                 automatic stay with respect to certain real property of the Debtor having an address of 7798 NE
                 8th Court, Boca Raton, FL 33487, also referred to as 7798 NE Spanish Trail Ct, Boca Raton,
                 FL 33487 (the “Property”), for all purposes allowed by the Note (defined below), the Mortgage
                 (defined below),and applicable law, including but not limited to the right to foreclose. In further
                 support of this Motion, Movant respectfully states:
                          1.       A petition under Chapter 7 of the United States Bankruptcy Code was filed with
                 respect to the Debtor on April 23, 2019.
                          2.       The Debtor has executed and delivered or is otherwise obligated with respect to
                 that certain promissory note in the original principal amount of $1,250,000.00 (the “Note”).      A
                 copy of the Note is attached hereto as Exhibit A.
                          3.       Pursuant to that certain Mortgage (the “Mortgage”), all obligations (collectively,
                 the “Obligations”) of the Debtor under and with respect to the Note and the Mortgage are secured
                 by the Property and the other collateral described in the Mortgage.        The lien created by the
                 Mortgage was perfected by recording of the Mortgage in the office of the Clerk of the County of
                 Palm Beach, Florida. A copy of the recorded Mortgage is attached hereto as Exhibit B.




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        4.             Specialized Loan Servicing LLC services the loan on the Property referenced in
this Motion. In the event the automatic stay in this case is modified, this case dismisses, and/or
the Debtor obtains a discharge and a foreclosure action is commenced on the mortgaged
property, the foreclosure will be conducted in the name of Movant or Movant’s successor or
assignee. Movant, directly or through an agent, has possession of the Note. The Note is either
made payable to Movant or has been duly endorsed.                   Movant is the original mortgagee or
beneficiary or the assignee of the Mortgage/Deed of Trust.
        5.             As of May 1, 2019, the unpaid principal balance due is $1,248,749.77 and the
approximate outstanding amount of Obligations less any partial payments or suspense balance is
$1,547,773.66.
        6.             The following chart sets forth the number and amount of payments due pursuant
to the terms of the Note as of May 1, 2019:
  Number of            From                      To               Monthly Payment        Total Amounts
  Payments                                                        Amount                 Delinquent
  1                    01/01/2016                01/01/2016       $3,121.87              $3,121.87
  4                    02/01/2016                05/01/2016       $8,021.54              $32,086.16
  4                    06/01/2016                09/01/2016       $8,541.86              $34,167.44
  8                    10/01/2016                05/01/2017       $6,584.50              $52,676.00
  4                    06/01/2017                09/01/2017       $10,591.99             $42,367.96
  8                    10/01/2017                05/01/2018       $9,986.65              $79,893.20
  4                    06/01/2018                09/01/2018       $10,470.41             $41,881.64
  8                    10/01/2018                05/01/2019       $10,128.90             $81,031.20
  Less partial payments:                                                                 ($0.00)
                                                                     Total Payments:     $367,225.47

        7.             As of May 1, 2019, the total arrearage/delinquency is $390,796.08, consisting of
(i) the foregoing total of payments in the amount of $367,225.47, plus (ii) the following fees:
        Fee Description                                              Amount
        Attorney’s Fees and Other Costs                              $23,570.61

        8.             A payment history is attached hereto as Exhibit 1.
        9.             The estimated value of the Property is $1,200,000.00.          The basis for such
valuation is: Broker's Price Opinion, a copy of which is attached hereto as Exhibit C.
        10.            Cause exists for relief from the automatic stay for the following reasons:
                 i.            Movant’s interest in the Property is not adequately protected.
                 ii.           Pursuant to 11 U.S.C. §362(d)(2)(A ), the Debtor has no equity in the
                               Property; and pursuant to §362(d)(2)(B), the Property is not necessary
                               for an effective reorganization.
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        WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the
stay and granting the following:
        1.       Relief from the stay for all purposes allowed by applicable law, the Note, and the
Mortgage, including but not limited to allowing Movant to proceed under applicable non-
bankruptcy law to enforce its remedies to foreclose upon and obtain possession of the Property
and any and all other collateral pledged under the Mortgage.
        2.       That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.
        3.       For such other relief as the Court deems proper.


        Dated: May 2, 2019

                                                SPECIALIZED LOAN SERVICING LLC, AS
                                                SERVICING AGENT FOR CITIGROUP
                                                MORTGAGE LOAN TRUST INC., MORTGAGE
                                                PASS-THROUGH CERTIFICATES, SERIES
                                                2007-10, U.S. BANK NATIONAL ASSOCIATION,
                                                AS TRUSTEE


                                                By: /s/Randa S Azzam
                                                Randa S. Azzam, Esquire, Bar No. 22474
                                                John E. Driscoll, Esquire, Bar No. 17161
                                                Michael T. Freeman, Esquire, Bar No. 19131
                                                Daniel J. Pesachowitz, Esquire, Bar No. 14906
                                                Samuel I. White, P.C.
                                                611 Rockville Pike
                                                Suite 100
                                                Rockville, MD 20852
                                                Tel: (301) 804-3400
                                                Fax: (301) 838-1954
                                                RAzzam@siwpc.com


                                   CERTIFICATE OF SERVICE

        I certify that on May 2, 2019, the foregoing Motion was served via CM/ECF on Zvi
Guttman, Trustee, and John C. Schropp, Counsel for Debtor, at the email addresses registered with
the Court, and that a true copy was mailed via first class mail, postage prepaid, to Megan E. Allen,
Debtor, 1508 Brewster Gate Road, Crownsville, MD 21032.

                                                /s/Randa S Azzam
                                                Randa S. Azzam, Esquire
                                                Samuel I. White, P. C.
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MARYLAND
                                BALTIMORE DIVISION
In re:
MEGAN E. ALLEN,                                                  CHAPTER 7
                DEBTOR.                                          CASE NO. 19-15508
SPECIALIZED LOAN SERVICING LLC, AS
SERVICING AGENT FOR CITIGROUP MORTGAGE
LOAN TRUST INC., MORTGAGE PASS-THROUGH
CERTIFICATES, SERIES 2007-10, U.S. BANK
NATIONAL ASSOCIATION, AS TRUSTEE,
                MOVANT,
vs.
MEGAN E. ALLEN
and ZVI GUTTMAN, TRUSTEE,
            RESPONDENTS.

          NOTICE OF MOTION AND OPPORTUNITY TO OBJECT TO MOTION
         FOR RELIEF FROM THE AUTOMATIC STAY AND HEARING THEREON
        Specialized Loan Servicing LLC, as servicing agent for Citigroup Mortgage Loan Trust
Inc., Mortgage Pass-Through Certificates, Series 2007-10, U.S. Bank National Association, as
Trustee (“Movant”), has filed papers with the court seeking relief from the automatic stay of 11
U.S.C. §362(a) to enable it to proceed to foreclose on its Mortgage referencing the subject
property known as 7798 NE 8th Court, Boca Raton, FL 33487, also referred to as 7798 NE
Spanish Trail Ct, Boca Raton, FL 33487. Your rights may be affected. You should read these
papers carefully and discuss them with your lawyer, if you have one in this bankruptcy case. (If
you do not have a lawyer, you may wish to consult one.).

        If you do not want the court to grant the motion for relief from the stay, or if you want the
court to consider your views on the motion, then by May 16, 2019 (parties served by mail may
add three (3) additional days to the response deadline) you or your lawyer must file a written
response with the Clerk of the Bankruptcy Court explaining your position and mail a copy to:

                Randa S. Azzam                             Zvi Guttman
                611 Rockville Pike                         P.O. Box 32308
                Suite 100                                  Baltimore, MD 21282-2308
                Rockville, MD 20852

           If you mail a copy rather than deliver your response to the Clerk of the Bankruptcy Court
for filing, you must mail it early enough so that the Court will receive it by the date stated above.

        The hearing is scheduled for June 21, 2019 at 9:15 AM, in the United States Bankruptcy
Court for the District of Maryland, 101 West Lombard Street, Baltimore, MD 21201, Courtroom
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IF YOU OR YOUR LAWYER DO NOT TAKE THESE STEPS BY THE DEADLINE, THE COURT
MAY DECIDE THAT YOU DO NOT OPPOSE THE RELIEF SOUGHT IN THE MOTION AND
MAY GRANT OR OTHERWISE DISPOSE OF THE MOTION BEFORE THE SCHEDULED
HEARING DATE.

DATE SERVED: May 2, 2019

                                                By: /s/Randa S Azzam
                                                Randa S. Azzam, Esquire, Bar No. 22474
                                                John E. Driscoll, Esquire, Bar No. 17161
                                                Michael T. Freeman, Esquire, Bar No. 19131
                                                Daniel J. Pesachowitz, Esquire, Bar No. 14906
                                                Samuel I. White, P.C.
                                                611 Rockville Pike
                                                Suite 100
                                                Rockville, MD 20852
                                                Tel: (301) 804-3400
                                                Fax: (301) 838-1954
                                                RAzzam@siwpc.com




                                   CERTIFICATE OF SERVICE

        I certify that on May 2, 2019, the foregoing Notice of Motion was served via CM/ECF on Zvi
Guttman, Trustee, and John C. Schropp, Counsel for Debtor, at the email addresses registered with
the Court, and that a true copy was mailed via first class mail, postage prepaid, to Megan E. Allen,
Debtor, 1508 Brewster Gate Road, Crownsville, MD 21032.

                                                /s/Randa S Azzam
                                                Randa S. Azzam, Esquire
                                                Samuel I. White, P. C.
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